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                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 In re: Joseph Sharga and Marian Sharga,   CHAPTER 13
         Debtors.
 ____________________________________      BANKRUPTCY CASE NUMBER
 CIT Bank, N.A.,                           16-17349/PMM
         Movant,
 v.                                        11 U.S.C. § 362
 Joseph Sharga and Marian Sharga,
         Debtors,

 Scott Waterman, Trustee,
   Additional Respondent.
                                            ORDER

        AND NOW, this ______18th day of ______________,
                                            May               2020, after notice to all required
parties and certification of default under the terms of this Court’s Order of April 17, 2018 it is

        ORDERED AND DECREED that the Automatic Stay of all proceedings, as provided
under Section 362 of the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005
(the "Code"), 11 U.S.C. § 362, is lifted to allow Movant, or its successors, if any, to proceed
with, or to resume proceedings in Mortgage Foreclosure, including, but not limited to Sheriff's or
Marshal's Sale of 2530 Beryl Avenue, Whitehall, PA 18052; and to take action, by suit or
otherwise as permitted by law, in its own name or the names of its assignee, to obtain possession
of said premises; and it is

       FURTHER ORDERED that Rule 4001(a)(3) is not applicable and Movant, or its
successors, if any, may immediately implement this order.


                                              BY THE COURT:


                                              ___________________________________
                                              HONORABLE PATRICIA M. MAYER
                                              UNITED STATES BANKRUPTCY JUDGE
